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     ~AO 2450 (CASO) (Rev. 4/14) Judgment ina Criminal Case for Revocations

                 Sheet 1



                                             UNITED STATES DISTRICT COURT
                                                                                                                        :< ..
                                                                                                                           ~
                                                  SOUTHERN DISTRICT OF CALIFORNIA

                    UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                                        V.                                      (For Revocation of Probation or Supervised Release)
                    AMANDI BOMAN! CARROLL                                       (For Offenses Committed On or After November 1, 1987)


                                                                                Case Number: 08CR4324-DMS

                                                                                Caitlin E Howard FD
                                                                                Defendant's Attorney
    REGISTRATION No. 11890298
D
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No,,,,!,l~an~d:!.!:2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found in violation of a11egation(s) No,                                                       after denial of guilt.

    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):


    Allegation Number             Nature of Violation
           1,2        Failure to participate in drug aftercare program (nv21)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                _2_ of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                January 7,2016
                                                                               Date of Imposition of Sentence




                                                                                HON. DANA M. SABRAW
                                                                                UNITED STATES DISTRICT JUDGE




                                                                                                                                   08CR4324-DMS
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AO 245D (CASD) (Rev. 4114) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment

                                                                                                      Judgment - Page   _...:2,-- of   2
 DEFENDANT: AMANDI BOMAN! CARROLL
 CASE NUMBER: 08CR4324-DMS
                                                                  IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          FIVE (5) MONTHS.




      D The court makes the following recommendations to the Bureau of Prisons:



      o The defendant is remanded to the custody ofthe United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.          Op.m.    on _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before ----------------------------------------------------------
         o as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                          to

 at                                                       with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL


                                                                             By _ _ _ _~~~~~~~~~~----
                                                                                               DEPUTY UNITED STATES MARSHAL




                                                                                                                                08CR4324-DMS
